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 1   KYLE R. KNAPP (SBN 166597)
     ATTORNEY AT LAW
 2
     916 2nd Street, 2nd Floor
 3   Sacramento, CA. 95814
     Tel. (916) 441-4717
 4   Fax (916) 441-4299
     E-Mail: kyleknapp@sbcglobal.net
 5

 6   Attorney for Defendant
     David Dixon
 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                              EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                       )       No. 15-CR-00118-GEB
                                                     )
12                                                   )       STIPULATION AND
            Plaintiff,                               )       [PROPOSED] ORDER CONTINUING CASE
13                                                   )       AND EXCLUDING TIME
     v.                                              )
14                                                   )
     DAVID DIXON.                                    )       Date: February 23, 2018
15                                                   )       Time: 9:00 am.
                                                     )       Judge: Honorable Garland E. Burrell, Jr.
16
            Defendant.                               )
                                                     )
17                                                   )
                                                     )
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19
            IT IS HEREBY stipulated between the United States of America through its undersigned
20
     counsel, Paul Hemesath, Assistant United States Attorney, attorney for plaintiff and Kyle
21
     Knapp, attorney for defendant David Dixon that the previously-scheduled status conference,
22
     currently set for February 16, 2018, be vacated and that the matter be set for status
23
     conference/potential entry of plea on February 23, 2018 at 9:00 a.m. Counsel for Mr. Dixon
24
     and the government are finalizing a plea agreement. To do so, additional investigation is being
25
     performed that impacts defendant’s potential guideline calculations.
26
            IT IS FURTHER STIPULATED that the ends of justice served by the granting of such a
27
     continuance outweigh the best interests of the public and the defendant in a speedy trial and that
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                                                         1
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 1   time within which the trial of this case must be commenced under the Speedy Trial Act should
 2   therefore be excluded under 18 U.S.C. Section 3161(h)(7)(B) (iv), corresponding to Local Code
 3   T-4 (to allow defense counsel time to prepare) from the date of the parties’ stipulation, February
 4   14, 2018, up to and including February 23, 2018.
 5   IT IS SO STIPULATED.
 6
     Dated: February 14, 2018                                    McGregor Scott
 7                                                               UNITED STATES ATTORNEY

 8                                                        by:    /s/ Paul Hemesath
                                                                 PAUL HEMESATH
 9
                                                                 Assistant U.S. Attorney
10                                                               Attorney for Plaintiff

11

12
     Dated: February 14, 2018                                    /s/ Kyle R. Knapp
                                                                 KYLE KNAPP
13                                                               Attorney for Defendant
                                                                 DAVID DIXON
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 1
                                               ORDER
 2
             This matter shall be dropped from this court’s February 16, 2018 criminal calendar and
 3
     re-calendared for status conference on February 23, 2018, commencing at 9:00 a.m.
 4
            Dated: February 15, 2018
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